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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA


                                     CIVIL MINUTES – GENERAL

 Case No.    LA CV21-04838 JAK (KSx)                                          Date        October 5, 2021
 Title       Michael Miller v. Warner Media, LLC, et al.




 Present: The Honorable           JOHN A. KRONSTADT, UNITED STATES DISTRICT JUDGE

                   T. Jackson                                              Not Reported
                  Deputy Clerk                                     Court Reporter / Recorder
          Attorneys Present for Plaintiffs:                    Attorneys Present for Defendants:
                    Not Present                                             Not Present


 Proceedings:           (IN CHAMBERS) ORDER DISMISSING CASE WITHOUT PREJUDICE)
                        (Dkt. 13) JS-6

In light of the parties’ Notice of Settlement, the Court orders that the action is dismissed without
prejudice. The Court retains jurisdiction to vacate this Order and to reopen the action within 45 days
from the date of this Order; provided, however, any request by any party(ies) that the Court do so, shall
make a showing of good cause as to why the settlement has not been completed within the 45-day
period, what further settlement processes are necessary, and when the party(ies) making such a
request reasonably expect the process to be concluded. This Order does not preclude the filing of a
stipulation of dismissal with prejudice pursuant to Fed. R. Civ. P. 41, which does not require the
approval of the Court. Such a stipulation shall be filed within the aforementioned 45-day period, or by
such later date ordered by the Court pursuant to a stipulation by the parties that conforms the
requirements of a showing of good cause stated above.

IT IS SO ORDERED.




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                                                           Initials of Preparer      TJ


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